     Case 1:19-cv-01029-RGA Document 4 Filed 09/11/19 Page 1 of 1 PageID #: 20


                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF DELAWARE

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ELAINE WANG,                                               :
                                                           :
                  Plaintiff,                               : Case No. 1:19-cv-01029-RGA
                                                           :
v.                                                         : JURY TRIAL DEMANDED
                                                           :
ARATANA THERAPEUTICS, INC., CRAIG                          :
A. BARBAROSH, DAVID L. BRINKLEY,                           :
IRVINE O. HOCKADAY, JR., J.D.,                             :
MERILEE RAINES, LOWELL W.                                  :
ROBINSON, ROBERT P. ROCHE, JR.,                            :
CRAIG TOOMAN, JOHN W. VANDER                               :
VORT, J.D., and WENDY YARNO,                               :
                                                           :
                  Defendants.                              :
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                     PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

         PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff Elaine

Wang (“Plaintiff”) hereby voluntarily dismisses the above-captioned action (the “Action”)

without prejudice. Defendants have filed neither an answer nor a motion for summary judgment

in the Action.

Dated: September 11, 2019                                   RIGRODSKY & LONG, P.A.

                                                       By: /s/ Brian D. Long
                                                           Brian D. Long (#4347)
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